                                                                   United States Department of State
                                                                   Washington, D.C. 20520




RE: Certification of Visa Records of the Bureau of Consular Affairs, U.S. Department of State



          I, John E. Echard, Jr. hereby declare under penalty of perjury:


I am a Deputy Director with the Office of Information Management and Liaison within the Visa
Office of the Bureau of Consular Affairs, U.S. Department of State. I am authorized to certify the
authenticity of visa records of the Bureau of Consular Affairs, including the visa records from the
Consular Consolidated Database. The Consular Consolidated Database contains records of visa
applications since 1997.

The attached documents are true, accurate and complete copies of the information in the non-
immigrant visa application records from the Consular Consolidated Database maintained by the
Department of State, Bureau of Consular Affairs, for the non-immigrant visa application
submitted by Aleksei Borisovich Sukhodolov (Date of Birth April 19, 1974) and adjudicated at
the U.S. Embassy in Moscow (Control Number 20172561050002). This record was made from
the information provided by the visa applicant at or near in time to when that information was
transmitted to the U.S. Department of State. The record was kept pursuant to the Department of
State’s procedures for the adjudication and retention of visa applications and was made as part of
a regular practice.

I declare under the penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true and
correct to the best of my knowledge.




Washington, D.C.
January 24, 2023


                                                          John E. Echard, Jr.
